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          EXHIBIT J
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                                                                                       Abhishek Bajoria
                                                                               Senior Litigation Counsel
                                                                                  LinkedIn Corporation
                                                                                1000 W. Maude Avenue
                                                                                  Sunnyvale, CA 94085
                                                                                 abajoria@linkedin.com

                                          May 23, 2017

Via Email to sales@hiqlabs.com

Mark Weidick
hiQ Labs, Inc.
575 Market Street, #850
San Francisco, CA 94105

RE: Demand to Immediately Cease and Desist Unauthorized Data Scraping and other
Violations of LinkedIn’s User Agreement

Mr. Weidick:

        I write on behalf of LinkedIn Corporation (“LinkedIn”). It has come to LinkedIn’s
attention that hiQ Labs, Inc. (“hiQ”) has used and is using processes to improperly, and without
authorization, access and copy data from LinkedIn’s website, www.linkedin.com. This is not
acceptable.

       hiQ’s software offered at www.hiqlabs.com is impermissibly and illegally accessing and
scraping data from LinkedIn. Indeed, hiQ’s website explains how its product improperly
incorporates skills data from LinkedIn’s website:

   •   Explore the skills that your employees are self-curating on the web and augment/update
       your company’s database of employee competencies.
   •   Because Skill Mapper is based on publicly available data, you can explore the full scope
       of your workforce’s skills, including skills from previous and current roles.

See https://www.hiqlabs.com/solutions . Moreover, hiQ has stated during marketing
presentations that its Skill Mapper product is built on profile data from LinkedIn, and that this
data is “refreshed” every two weeks. There can thus be no doubt that hiQ’s product copies and
scrapes data from LinkedIn, including “skills” information from the LinkedIn profiles of
LinkedIn members.

        LinkedIn has earned its members’ trust by acting vigilantly to keep their data secure.
hiQ’s actions and products violate this trust, as well as several provisions of LinkedIn’s User
Agreement (found at https://www.linkedin.com/legal/user-agreement). In particular, among
other things, LinkedIn’s User Agreement prohibits the following:
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   •   Scrape or copy profiles and information of others through any means (including crawlers,
       browser plugins and add-ons, and any other technology or manual work);
   •   Copy or use the information, content or data of others available on the Services (except as
       expressly authorized);
   •   Rent, lease, loan, trade, sell/re-sell access to the Services or any related information or
       data;
   •   Share or disclose information of others without their express consent; and
   •   Use manual or automated software, devices, scripts robots, other means or processes to
       access, “scrape,” “crawl” or “spider” the Services or any related data or information.

As demonstrated above, hiQ is violating each of these provisions.

       To be clear, hiQ’s prior and present access of LinkedIn’s website and/or servers violates
LinkedIn’s User Agreement and the law. hiQ’s company page on LinkedIn has been restricted.
Any future access of any kind by hiQ is without permission and without authorization from
LinkedIn. Further, LinkedIn has implemented technical measures to prevent hiQ from accessing,
and assisting others to access, LinkedIn’s site, through systems that detect, monitor, and block
scraping activity. Circumventing these technical measures and accessing LinkedIn’s website
without LinkedIn’s authorization constitute violations of multiple state and federal laws,
including but not limited to:

       •   California Penal Code Section 502(c);
       •   Federal Computer Fraud and Abuse Act (18 U.S.C. §§1030);
       •   State common law of trespass; and
       •   the Digital Millennium Copyright Act (17 U.S.C. §§512, 1201).

See, e.g., Craigslist Inc. v. 3Taps Inc. et al (N.D. Cal., Aug. 16, 2013) (ignoring revocation of
permissions to access, and circumventing IP blocking measures, constitutes a violation of the
CFAA); Facebook, Inc. v. Power Ventures, Inc., No. 13-17102, 2016 WL 3741956, at *8 (9th
Cir. July 12, 2016) (defendant who “disregarded the cease and desist letter . . . accessed
Facebook’s computers ‘without authorization’ within the meaning of the CFAA and is liable
under that statute”).

       Accordingly, LinkedIn demands that hiQ immediately:

       1. Cease and desist accessing or attempting to access or use LinkedIn’s website,
          computers, computer systems, computer network, computer programs, and data
          stored therein (whether directly or through third parties);

       2. Destroy all data, documents, and other items, electronic or otherwise, in their
          possession, custody, or control, that were copied, extracted or otherwise derived from
          LinkedIn’s website (whether directly, indirectly, via members, or from other third
          parties); and
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       3. Cease and forever desist from any conduct inducing members to violating LinkedIn’s
          User Agreement and Privacy Policy, including but not limited to offering software or
          services the use of which by members violates LinkedIn’s User Agreement and
          Privacy Policy.

        LinkedIn would prefer to resolve this matter amicably, and I look forward to your
response by May 31. This letter is not a recitation of all of the facts pertaining to this matter or
all of LinkedIn’s possible claims. Accordingly, LinkedIn is not waiving any of its rights and
remedies, all of which LinkedIn expressly reserves. If hiQ does not comply with the requests set
forth in this letter, LinkedIn reserves all of its rights and remedies, including legal action.
